Case 2:17-cv-09627-SM-KWR Document 24 Filed 12/11/17 Page 1of 2

UNITED STATES DISTRICT COURT
EASTERN-DISTRICT OAR NS

Howard Anthony Brown and EASTERN OSTRICT OF LOUISIANA Civil Action No. 17-09627

Belden Batiste
reo }§=6DEC 11 2012
Vs. JTM-KWR

WILLIAM W. BLEVI
TOM SCHEDLER, ET AL. MW. BLEV NS CY

OPPOSITION TO MOTIONS TO DISMISS FILED BY DEFENDANTS
TOM SCEHDLER, IN HIS CAPACITY AS LOUISIANA SECRETARY OF STATE

INTO THIS COURT, comes Howard Anthony Brown and Belden Batiste, ( Collectively the
Plaintiffs), who request that this court denies the Defendant, TOM SCHEDLER Motion to
Dismiss Filed by Defendant, TOM SCHEDLER, In His Capacity As Louisiana Secretary of
State, for the following reasons outlined in the adjoining Memorandum in Support of Opposition
to Motion to Dismiss filed by Defendant.

WHEREFORE, the Plaintiffs request that the Motion to Dismiss be denied and that the

complaint should be allowed to proceed on its merits.

Belden Batiste
1421 North Miro

New Orleans, Louisiana 70119
(504) 251-1203

Case 2:17-cv-09627-SM-KWR Document 24 Filed 12/11/17 Page 2 of 2

CERTIFICATE OF SERVICE
I hereby certify that on December 11, 2017, the foregoing “Opposition to Motions to
Dismiss Filed by Defendants, TOM SCHEDLER, In His Capacity as Louisiana Secretary of
State” was hand delivered to the Clerk of Court and a copy emailed to the Counsels of Record
for the Defendants.
I further certify that a copy of the above and foregoing “Opposition to Motions to Dismiss
Filed By Defendants, TOM SCHEDLER , In His Capacity As Louisiana Secretary of State” was

sent via U.S. Mail, properly address and with proper postage to the Counsels of Record:

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